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SOE ESUNEEL December 18, 2019

By ECF
Honorable Margo K. Brodie

United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: United States v. Tomer Dafna, et al, 19-cr-00408 (MKB)
Dear Judge Brodie:

This letter respectfully requests modification of Mr. Dafna’s bail conditions for the
balance of December for family and religious events.

First, he requests an extension of his curfew from 7:00 p.m. to 10:00 p.m. each night
between December 20-30, 2019, because his twin teenage daughters are visiting from Israel
during those dates, and he would like to spend time with them and the rest of his family outside
of his home. This period coincides with the holiday of Chanukah when he and his family are
invited to candle-lighting celebrations at friends’ homes. These social/religious occasions begin
at sunset and last into the evening. Pretrial Services and the government do not consent to extend
Mr. Dafna’s curfew beyond 7:00 p.m. for any of these nights.

Second, Mr. Dafna requests permission to travel with his family on December 24th to the
American Dream Amusement Park in Rutherford New Jersey; and, on December 26th, to the
Campgaw Ski Area in Mahwah, New Jersey. A snow date for both family outings would be
December 29th. Pretrial Services and the government consent to this travel but only with a 7:00
p.m. curfew. Given the proximity of these locations to his home and traffic this time of year, a7
p.m. curfew is not realistic. For these reasons, we respectfully request a curfew time of 10 p.m.
for these nights as well.

 

Thank you for your consideration of this letter.

ce: Shannon Jones, Esq. (via ECF)

 
